76 F.3d 376
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Henry EVANS, Defendant-Appellant.
    No. 95-6910.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 23, 1996.Decided:  February 8, 1996.
    
      Robert James Wagner, Richmond, Virginia, for Appellant.   Robert William Jaspen, Office of the United States Attorney, Richmond, VA, for Appellee.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   United States v. Evans, CR-83-107-2 (E.D. Va.  May 20, 1993;  May 23, 1995).   The motion to withdraw as counsel of record filed by Appellant's counsel is granted.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    